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      EXHIBIT

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SMALL BUSINESS ADMINISTRATION

[Docket No. SBA-2020-0015]

13 CFR Part 120

Business Loan Program Temporary Changes; Paycheck Protection Program

RIN 3245-AH34

AGENCY:        U. S. Small Business Administration.

ACTION:        Interim Final Rule.

SUMMARY: This interim final rule announces the implementation of sections 1102 and

1106 of the Coronavirus Aid, Relief, and Economic Security Act (CARES Act or the

Act). Section 1102 of the Act temporarily adds a new product, titled the “Paycheck

Protection Program,” to the U.S. Small Business Administration’s (SBA’s) 7(a) Loan

Program. Section 1106 of the Act provides for forgiveness of up to the full principal

amount of qualifying loans guaranteed under the Paycheck Protection Program. The

Paycheck Protection Program and loan forgiveness are intended to provide economic

relief to small businesses nationwide adversely impacted under the Coronavirus Disease

2019 (COVID-19) Emergency Declaration (COVID-19 Emergency Declaration) issued

by President Trump on March 13, 2020. This interim final rule outlines the key

provisions of SBA’s implementation of sections 1102 and 1106 of the Act in formal

guidance and requests public comment.

DATES: Effective Date: This interim final rule is effective [INSERT DATE OF

PUBLICATION IN THE FEDERAL REGISTER].
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Applicability Date: This interim final rule applies to applications submitted under the

Paycheck Protection Program through June 30, 2020, or until funds made available for

this purpose are exhausted.

Comment Date: Comments must be received on or before [INSERT DATE 30 DAYS

AFTER DATE OF PUBLICATION IN THE FEDERAL REGISTER].

You may submit comments, identified by number SBA-2020-0015 through the Federal

eRulemaking Portal: http://www.regulations.gov. Follow the instructions for submitting

comments.

        SBA will post all comments on www.regulations.gov. If you wish to submit

confidential business information (CBI) as defined in the User Notice at

www.regulations.gov, please send an email to dianna.seaborn@sba.gov. Highlight the

information that you consider to be CBI and explain why you believe SBA should hold

this information as confidential. SBA will review the information and make the final

determination whether it will publish the information.

FOR FURTHER INFORMATION CONTACT: The local SBA Field Office; the list of

offices can be found at https://www.sba.gov/tools/local-assistance/districtoffices.

SUPPLEMENTARY INFORMATION:

   I.       Background Information

   On March 13, 2020, President Trump declared the ongoing Coronavirus Disease 2019

(COVID-19) pandemic of sufficient severity and magnitude to warrant an emergency

declaration for all states, territories, and the District of Columbia. With the COVID-19

emergency, many small businesses nationwide are experiencing economic hardship as a

direct result of the Federal, State, and local public health measures that are being taken to




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minimize the public’s exposure to the virus. These measures, some of which are

government-mandated, are being implemented nationwide and include the closures of

restaurants, bars, and gyms. In addition, based on the advice of public health officials,

other measures, such as keeping a safe distance from others or even stay-at-home orders,

are being implemented, resulting in a dramatic decrease in economic activity as the

public avoids malls, retail stores, and other businesses.

   On March 27, 2020, the President signed the Coronavirus Aid, Relief, and Economic

Security Act (the CARES Act or the Act) (P.L. 116-136) to provide emergency assistance

and health care response for individuals, families, and businesses affected by the

coronavirus pandemic. The Small Business Administration (SBA) received funding and

authority through the Act to modify existing loan programs and establish a new loan

program to assist small businesses nationwide adversely impacted by the COVID-19

emergency.

    Section 1102 of the Act temporarily permits SBA to guarantee 100 percent of 7(a)

loans under a new program titled the “Paycheck Protection Program.” Section 1106 of

the Act provides for forgiveness of up to the full principal amount of qualifying loans

guaranteed under the Paycheck Protection Program. A more detailed discussion of

sections 1102 and 1106 of the Act is found in section III below.

   II.     Comments and Immediate Effective Date

   The intent of the Act is that SBA provide relief to America’s small businesses

expeditiously. This intent, along with the dramatic decrease in economic activity

nationwide, provides good cause for SBA to dispense with the 30-day delayed effective

date provided in the Administrative Procedure Act. Specifically, small businesses need



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to be informed on how to apply for a loan and the terms of the loan under section 1102 of

the Act as soon as possible because the last day to apply for and receive a loan is June 30,

2020. The immediate effective date of this interim final rule will benefit small businesses

so that they can immediately apply for the loan with a full understanding of loan terms

and conditions. This interim final rule is effective without advance notice and public

comment because section 1114 of the Act authorizes SBA to issue regulations to

implement Title 1 of the Act without regard to notice requirements. This rule is being

issued to allow for immediate implementation of this program. Although this interim

final rule is effective immediately, comments are solicited from interested members of

the public on all aspects of the interim final rule, including section III below. These

comments must be submitted on or before [INSERT DATE 30 DAYS FROM DATE OF

PUBLICATION IN THE FEDERAL REGISTER]. The SBA will consider these

comments and the need for making any revisions as a result of these comments.

   III.    Temporary New Business Loan Program: Paycheck Protection Program

   Overview

   The CARES Act was enacted to provide immediate assistance to individuals,

families, and businesses affected by the COVID-19 emergency. Among the provisions

contained in the CARES Act are provisions authorizing SBA to temporarily guarantee

loans under a new 7(a) loan program titled the “Paycheck Protection Program.” Loans

guaranteed under the Paycheck Protection Program (PPP) will be 100 percent guaranteed

by SBA, and the full principal amount of the loans may qualify for loan forgiveness. The

following outlines the key provisions of the PPP.

   1. General



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   SBA is authorized to guarantee loans under the PPP through June 30, 2020. Congress

authorized a program level of $349,000,000,000 to provide guaranteed loans under this

new 7(a) program. The intent of the Act is that SBA provide relief to America’s small

businesses expeditiously, which is expressed in the Act by giving all lenders delegated

authority and streamlining the requirements of the regular 7(a) loan program. For

example, for loans made under the PPP, SBA will not require the lenders to comply with

section 120.150 “What are SBA’s lending criteria?.” SBA will allow lenders to rely on

certifications of the borrower in order to determine eligibility of the borrower and use of

loan proceeds and to rely on specified documents provided by the borrower to determine

qualifying loan amount and eligibility for loan forgiveness. Lenders must comply with

the applicable lender obligations set forth in this interim final rule, but will be held

harmless for borrowers’ failure to comply with program criteria; remedies for borrower

violations or fraud are separately addressed in this interim final rule. The program

requirements of the PPP identified in this rule temporarily supersede any conflicting Loan

Program Requirement (as defined in 13 CFR 120.10).

   2. What Do Borrowers Need to Know and Do?

   a. Am I eligible?

       You are eligible for a PPP loan if you have 500 or fewer employees whose

       principal place of residence is in the United States, or are a business that operates

       in a certain industry and meet the applicable SBA employee-based size standards

       for that industry, and:

           i. You are:




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                A.        A small business concern as defined in section 3 of the

                  Small Business Act (15 USC 632), and subject to SBA’s affiliation

                  rules under 13 CFR 121.301(f) unless specifically waived in the

                  Act;

                B.        A tax-exempt nonprofit organization described in section

                  501(c)(3) of the Internal Revenue Code (IRC), a tax-exempt

                  veterans organization described in section 501(c)(19) of the IRC,

                  Tribal business concern described in section 31(b)(2)(C) of the

                  Small Business Act, or any other business; and

       ii. You were in operation on February 15, 2020 and either had employees for

          whom you paid salaries and payroll taxes or paid independent contractors,

          as reported on a Form 1099-MISC.

       You are also eligible for a PPP loan if you are an individual who operates

       under a sole proprietorship or as an independent contractor or eligible self-

       employed individual, you were in operation on February 15, 2020.

       You must also submit such documentation as is necessary to establish

       eligibility such as payroll processor records, payroll tax filings, or Form 1099-

       MISC, or income and expenses from a sole proprietorship. For borrowers that

       do not have any such documentation, the borrower must provide other

       supporting documentation, such as bank records, sufficient to demonstrate the

       qualifying payroll amount.




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         SBA intends to promptly issue additional guidance with regard to the

         applicability of affiliation rules at 13 CFR §§ 121.103 and 121.301 to PPP

         loans.

  b. Could I be ineligible even if I meet the eligibility requirements in (a) above?

     You are ineligible for a PPP loan if, for example:

         i. You are engaged in any activity that is illegal under federal, state, or local

             law;

         ii. You are a household employer (individuals who employ household

             employees such as nannies or housekeepers);

         iii. An owner of 20 percent or more of the equity of the applicant is

             incarcerated, on probation, on parole; presently subject to an indictment,

             criminal information, arraignment, or other means by which formal

             criminal charges are brought in any jurisdiction; or has been convicted of a

             felony within the last five years; or

         iv. You, or any business owned or controlled by you or any of your owners,

             has ever obtained a direct or guaranteed loan from SBA or any other

             Federal agency that is currently delinquent or has defaulted within the last

             seven years and caused a loss to the government.

     The Administrator, in consultation with the Secretary of the Treasury (the

     Secretary), determined that household employers are ineligible because they are

     not businesses. 13 CFR 120.100.

  c. How do I determine if I am ineligible?




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     Businesses that are not eligible for PPP loans are identified in 13 CFR 120.110

     and described further in SBA’s Standard Operating Procedure (SOP) 50 10,

     Subpart B, Chapter 2, except that nonprofit organizations authorized under the

     Act are eligible. (SOP 50 10 can be found at https://www.sba.gov/document/sop-

     50-10-5-lender-development-company-loan-programs.)

  d. I have determined that I am eligible. How much can I borrow?

     Under the PPP, the maximum loan amount is the lesser of $10 million or an

     amount that you will calculate using a payroll-based formula specified in the Act,

     as explained below.

  e. How do I calculate the maximum amount I can borrow?

     The following methodology, which is one of the methodologies contained in the

     Act, will be most useful for many applicants.

         i. Step 1: Aggregate payroll costs (defined in detail below in f.) from the last

            twelve months for employees whose principal place of residence is the

            United States.

         ii. Step 2: Subtract any compensation paid to an employee in excess of an

            annual salary of $100,000 and/or any amounts paid to an independent

            contractor or sole proprietor in excess of $100,000 per year.

         iii. Step 3: Calculate average monthly payroll costs (divide the amount from

            Step 2 by 12).

         iv. Step 4: Multiply the average monthly payroll costs from Step 3 by 2.5.

         v. Step 5: Add the outstanding amount of an Economic Injury Disaster Loan

            (EIDL) made between January 31, 2020 and April 3, 2020, less the




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            amount of any “advance” under an EIDL COVID-19 loan (because it does

            not have to be repaid).

     The examples below illustrate this methodology.

        i. Example 1 – No employees make more than $100,000

               Annual payroll: $120,000

               Average monthly payroll: $10,000

               Multiply by 2.5 = $25,000

               Maximum loan amount is $25,000

        ii. Example 2 – Some employees make more than $100,000

               Annual payroll: $1,500,000

               Subtract compensation amounts in excess of an annual salary of

               $100,000: $1,200,000

               Average monthly qualifying payroll: $100,000

               Multiply by 2.5 = $250,000

               Maximim loan amount is $250,000

        iii. Example 3 – No employees make more than $100,000, outstanding EIDL

            loan of $10,000.

               Annual payroll: $120,000

               Average monthly payroll: $10,000

               Multiply by 2.5 = $25,000

               Add EIDL loan of $10,000 = $35,000

               Maximum loan amount is $35,000




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         iv. Example 4 – Some employees make more than $100,000, outstanding

             EIDL loan of $10,000

                  Annual payroll: $1,500,000

                  Subtract compensation amounts in excess of an annual salary of

                  $100,000: $1,200,000

                  Average monthly qualifying payroll: $100,000

                  Multiply by 2.5 = $250,000

                  Add EIDL loan of $10,000 = $260,000

                  Maximum loan amount is $260,000

  f. What qualifies as “payroll costs?”

     Payroll costs consist of compensation to employees (whose principal place of

     residence is the United States) in the form of salary, wages, commissions, or

     similar compensation; cash tips or the equivalent (based on employer records of

     past tips or, in the absence of such records, a reasonable, good-faith employer

     estimate of such tips); payment for vacation, parental, family, medical, or sick

     leave; allowance for separation or dismissal; payment for the provision of

     employee benefits consisting of group health care coverage, including insurance

     premiums, and retirement; payment of state and local taxes assessed on

     compensation of employees; and for an independent contractor or sole proprietor,

     wage, commissions, income, or net earnings from self-employment or similar

     compensation.

  g. Is there anything that is expressly excluded from the definition of payroll costs?

     Yes. The Act expressly excludes the following:




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         i. Any compensation of an employee whose principal place of residence is

            outside of the United States;

         ii. The compensation of an individual employee in excess of an annual salary

            of $100,000, prorated as necessary;

         iii. Federal employment taxes imposed or withheld between February 15,

            2020 and June 30, 2020, including the employee’s and employer’s share

            of FICA (Federal Insurance Contributions Act) and Railroad Retirement

            Act taxes, and income taxes required to be withheld from employees; and

         iv. Qualified sick and family leave wages for which a credit is allowed under

            sections 7001 and 7003 of the Families First Coronavirus Response Act

            (Public Law 116–127).

  h. Do independent contractors count as employees for purposes of PPP loan

     calculations?

     No, independent contractors have the ability to apply for a PPP loan on their own

     so they do not count for purposes of a borrower’s PPP loan calculation.

  i. What is the interest rate on a PPP loan?

     The interest rate will be 100 basis points or one percent.

     The Administrator, in consultation with the Secretary, determined that a one

     percent interest rate is appropriate. First, it provides low cost funds to borrowers

     to meet eligible payroll costs and other eligible expenses during this temporary

     period of economic dislocation caused by the coronavirus. Second, for lenders,

     the 100 basis points offers an attractive interest rate relative to the cost of funding

     for comparable maturities. For example, the FDIC’s weekly national average rate




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     for a 24-month CD deposit product for the week of March 30, 2020 is 42 basis

     points for non-jumbo and 44 basis points for jumbo

     (https://www.fdic.gov/regulations/resources/rates/). Third, the interest rate is

     higher than the yield on Treasury securities of comparable maturity. For example,

     the yield on the Treasury two-year note is approximately 23 basis points. This

     higher yield combined with the fact that the loans are 100 percent guaranteed by

     the SBA and the fact that lenders will receive a substantial processing fee from

     the SBA provide ample inducement for lenders to participate in the PPP.

  j. What will be the maturity date on a PPP loan?

     The maturity is two years. While the Act provides that a loan will have a

     maximum maturity of up to ten years from the date the borrower applies for loan

     forgiveness (described below), the Administrator, in consultation with the

     Secretary, determined that a two year loan term is sufficient in light of the

     temporary economic dislocations caused by the coronavirus. Specifically, the

     considerable economic disruption caused by the coronavirus is expected to abate

     well before the two year maturity date such that borrowers will be able to re-

     commence business operations and pay off any outstanding balances on their PPP

     loans.

  k. Can I apply for more than one PPP loan?

     No. The Administrator, in consultation with the Secretary, determined that no

     eligible borrower may receive more than one PPP loan. This means that if you

     apply for a PPP loan you should consider applying for the maximum amount.

     While the Act does not expressly provide that each eligible borrower may only




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     receive one PPP loan, the Administrator has determined, in consultation with the

     Secretary, that because all PPP loans must be made on or before June 30, 2020, a

     one loan per borrower limitation is necessary to help ensure that as many eligible

     borrowers as possible may obtain a PPP loan. This limitation will also help

     advance Congress’ goal of keeping workers paid and employed across the United

     States.

  l. Can I use e-signatures or e-consents if a borrower has multiple owners?

     Yes, e-signature or e-consents can be used regardless of the number of owners.

  m. Is the PPP “first-come, first-served?”

     Yes.

  n. When will I have to begin paying principal and interest on my PPP loan?

     You will not have to make any payments for six months following the date of

     disbursement of the loan. However, interest will continue to accrue on PPP loans

     during this six-month deferment. The Act authorizes the Administrator to defer

     loan payments for up to one year. The Administrator determined, in consultation

     with the Secretary, that a six-month deferment period is appropriate in light of the

     modest interest rate (one percent) on PPP loans and the loan forgiveness

     provisions contained in the Act.

  o. Can my PPP loan be forgiven in whole or in part?

     Yes. The amount of loan forgiveness can be up to the full principal amount of the

     loan and any accrued interest. That is, the borrower will not be responsible for

     any loan payment if the borrower uses all of the loan proceeds for forgiveable

     purposes described below and employee and compensation levels levels are




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     maintained. The actual amount of loan forgiveness will depend, in part, on the

     total amount of payroll costs, payments of interest on mortgage obligations

     incurred before February 15, 2020, rent payments on leases dated before February

     15, 2020, and utility payments under service agreements dated before February

     15, 2020, over the eight-week period following the date of the loan. However, not

     more than 25 percent of the loan forgiveness amount may be attributable to non-

     payroll costs. While the Act provides that borrowers are eligible for forgiveness

     in an amount equal to the sum of payroll costs and any payments of mortgage

     interest, rent, and utilities, the Administrator has determined that the non-payroll

     portion of the forgivable loan amount should be limited to effectuate the core

     purpose of the statute and ensure finite program resources are devoted primarily

     to payroll. The Administrator has determined in consultation with the Secretary

     that 75 percent is an appropriate percentage in light of the Act’s overarching focus

     on keeping workers paid and employed. Further, the Administrator and the

     Secretary believe that applying this threshold to loan forgiveness is consistent

     with the structure of the Act, which provides a loan amount 75 percent of which is

     equivalent to eight weeks of payroll (8 weeks / 2.5 months = 56 days / 76 days =

     74 percent rounded up to 75 percent). Limiting non-payroll costs to 25 percent of

     the forgiveness amount will align these elements of the program, and will also

     help to ensure that the finite appropriations available for PPP loan forgiveness are

     directed toward payroll protection. SBA will issue additional guidance on loan

     forgiveness.




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  p. Do independent contractors count as employees for purposes of PPP loan

     forgiveness?

     No, independent contractors have the ability to apply for a PPP loan on their own

     so they do not count for purposes of a borrower’s PPP loan forgiveness.

  q. What forms do I need and how do I submit an application?

     The applicant must submit SBA Form 2483 (Paycheck Protection Program

     Application Form) and payroll documentation, as described above. The lender

     must submit SBA Form 2484 (Paycheck Protection Program Lender’s

     Application for 7(a) Loan Guaranty) electronically in accordance with program

     requirements and maintain the forms and supporting documentation in its files.

  r. How can PPP loans be used?

     The proceeds of a PPP loan are to be used for:

         i. payroll costs (as defined in the Act and in 2.f.);

         ii. costs related to the continuation of group health care benefits during

            periods of paid sick, medical, or family leave, and insurance premiums;

         iii. mortgage interest payments (but not mortgage prepayments or principal

            payments);

         iv. rent payments;

         v. utility payments;

         vi. interest payments on any other debt obligations that were incurred before

            February 15, 2020; and/or

         vii. refinancing an SBA EIDL loan made between January 31, 2020 and April

            3, 2020. If you received an SBA EIDL loan from January 31, 2020




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            through April 3, 2020, you can apply for a PPP loan. If your EIDL loan

            was not used for payroll costs, it does not affect your eligibility for a PPP

            loan. If your EIDL loan was used for payroll costs, your PPP loan must be

            used to refinance your EIDL loan. Proceeds from any advance up to

            $10,000 on the EIDL loan will be deducted from the loan forgiveness

            amount on the PPP loan.

     However, at least 75 percent of the PPP loan proceeds shall be used for payroll

     costs. For purposes of determining the percentage of use of proceeds for payroll

     costs, the amount of any EIDL refinanced will be included. For purposes of loan

     forgiveness, however, the borrower will have to document the proceeds used for

     payroll costs in order to determine the amount of forgiveness. While the Act

     provides that PPP loan proceeds may be used for the purposes listed above and for

     other allowable uses described in section 7(a) of the Small Business Act (15

     U.S.C. 636(a)), the Administrator believes that finite appropriations and the

     structure of the Act warrant a requirement that borrowers use a substantial portion

     of the loan proceeds for payroll costs, consistent with Congress’ overarching goal

     of keeping workers paid and employed. As with the similar limitation on the

     forgiveness amount explained earlier, the Administrator, in consultation with the

     Secretary, has determined that 75 percent is an appropriate percentage that will

     align this element of the program with the loan amount, 75 percent of which is

     equivalent to eight weeks of payroll. This limitation on use of the loan funds will

     help to ensure that the finite appropriations available for these loans are directed




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         toward payroll protection, as each loan that is issued depletes the appropriation,

         regardless of whether portions of the loan are later forgiven.

    s. What happens if PPP loan funds are misused?

         If you use PPP funds for unauthorized purposes, SBA will direct you to repay

         those amounts. If you knowingly use the funds for unauthorized purposes, you

         will be subject to additional liability such as charges for fraud. If one of your

         shareholders, members, or partners uses PPP funds for unauthorized purposes,

         SBA will have recourse against the shareholder, member, or partner for the

         unauthorized use.

    t. What certifications need to be made?

         On the Paycheck Protection Program application, an authorized representative of

         the applicant must certify in good faith to all of the below:1

              i. The applicant was in operation on February 15, 2020 and had employees

                  for whom it paid salaries and payroll taxes or paid independent

                  contractors, as reported on a Form 1099-MISC.

              ii. Current economic uncertainty makes this loan request necessary to support

                  the ongoing operations of the applicant.

              iii. The funds will be used to retain workers and maintain payroll or make

                  mortgage interest payments, lease payments, and utility payments; I

                  understand that if the funds are knowingly used for unauthorized purposes,

                  the federal government may hold me legally liable such as for charges of




1
 A representative of the applicant can certify for the business as a whole if the representative is legally
authorized to do so.


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           fraud. As explained above, not more than 25 percent of loan proceeds

           may be used for non-payroll costs.

        iv. Documentation verifying the number of full-time equivalent employees on

           payroll as well as the dollar amounts of payroll costs, covered mortgage

           interest payments, covered rent payments, and covered utilities for the

           eight week period following this loan will be provided to the lender.

        v. Loan forgiveness will be provided for the sum of documented payroll

           costs, covered mortgage interest payments, covered rent payments, and

           covered utilities. As explained above, not more than 25 percent of the

           forgiven amount may be for non-payroll costs.

        vi. During the period beginning on February 15, 2020 and ending on

           December 31, 2020, the applicant has not and will not receive another loan

           under this program.

        vii. I further certify that the information provided in this application and the

           information provided in all supporting documents and forms is true and

           accurate in all material respects. I understand that knowingly making a

           false statement to obtain a guaranteed loan from SBA is punishable under

           the law, including under 18 USC 1001 and 3571 by imprisonment of not

           more than five years and/or a fine of up to $250,000; under 15 USC 645

           by imprisonment of not more than two years and/or a fine of not more than

           $5,000; and, if submitted to a federally insured institution, under 18 USC

           1014 by imprisonment of not more than thirty years and/or a fine of not

           more than $1,000,000.




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        viii.      I acknowledge that the lender will confirm the eligible loan amount

            using tax documents I have submitted. I affirm that these tax documents

            are identical to those submitted to the Internal Revenue Service. I also

            understand, acknowledge, and agree that the Lender can share the tax

            information with SBA’s authorized representatives, including authorized

            representatives of the SBA Office of Inspector General, for the purpose of

            compliance with SBA Loan Program Requirements and all SBA reviews.

  3. What Do Lenders Need to Know and Do?

  a. Who is eligible to make PPP loans?

        i. All SBA 7(a) lenders are automatically approved to make PPP loans on a

            delegated basis.

        ii. The Act provides that the authority to make PPP loans can be extended to

            additional lenders determined by the Administrator and the Secretary to

            have the necessary qualifications to process, close, disburse, and service

            loans made with the SBA guarantee. Since SBA is authorized to make

            PPP loans up to $349 billion by June 30, 2020, the Adminstrator and the

            Secretary have jointly determined that authorizing additional lenders is

            necessary to achieve the purpose of allowing as many eligible borrowers

            as possible to receive loans by the June 30, 2020 deadline.

        iii. The following types of lenders have been determined to meet the criteria

            and are eligible to make PPP loans unless they currently are designated in

            Troubled Condition by their primary federal regulator or are subject to a




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           formal enforcement action with their primary federal regulator that

           addresses unsafe or unsound lending practices:

                I.      Any federally insured depository institution or any federally

                        insured credit union;

                II.     Any Farm Credit System institution (other than the Federal

                        Agricultural Mortgage Corporation) as defined in 12 U.S.C.

                        2002(a) that applies the requirements under the Bank Secrecy

                        Act and its implementing regulations (collectively, BSA) as a

                        federally regulated financial institution, or functionally

                        equivalent requirements that are not altered by this rule;

                        and

                III.    Any depository or non-depository financing provider that

                        originates, maintains, and services business loans or other

                        commercial financial receivables and participation interests;

                        has a formalized compliance program; applies the

                        requirements under the BSA as a federally regulated financial

                        institution, or the BSA requirements of an equivalent

                        federally regulated financial institution; has been operating

                        since at least February 15, 2019, and has originated,

                        maintained, and serviced more than $50 million in business

                        loans or other commercial financial receivables during a

                        consecutive 12 month period in the past 36 months, or is a

                        service provider to any insured depository institution that has




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                           a contract to support such institution’s lending activities in

                           accordance with 12 U.S.C. § 1867(c) and is in good standing

                           with the appropriate Federal banking agency.

         iv. Qualified institutions described in 3.a.iii. I. and II. will be automatically

             qualified under delegated authority by the SBA upon transmission of

             CARES Act Section 1102 Lender Agreement (SBA Form 3506) unless

             they currently are designated in Troubled Condition by their primary

             federal regulator or are subject to a formal enforcement action by their

             primary federal regulator that addresses unsafe or unsound lending

             practices.

  b. What do lenders have to do in terms of loan underwriting?

     Each lender shall:

         i. Confirm receipt of borrower certifications contained in Paycheck

             Protection Program Application form issued by the Administration;

         ii. Confirm receipt of information demonstrating that a borrower had

             employees for whom the borrower paid salaries and payroll taxes on or

             around February 15, 2020;

         iii. Confirm the dollar amount of average monthly payroll costs for the

             preceding calendar year by reviewing the payroll documentation submitted

             with the borrower’s application; and

         iv. Follow applicable BSA requirements:

                   I.      Federally insured depository institutions and federally

                           insured credit unions should continue to follow their existing




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                     BSA protocols when making PPP loans to either new or

                     existing customers who are eligible borrowers under the PPP.

                     PPP loans for existing customers will not require re-

                     verification under applicable BSA requirements, unless

                     otherwise indicated by the institution’s risk-based approach

                     to BSA compliance.

               II.   Entities that are not presently subject to the requirements of

                     the BSA, should, prior to engaging in PPP lending activities,

                     including making PPP loans to either new or existing

                     customers who are eligible borrowers under the PPP,

                     establish an anti-money laundering (AML) compliance

                     program equivalent to that of a comparable federally

                     regulated institution. Depending upon the comparable

                     federally regulated institution, such a program may include a

                     customer identification program (CIP), which includes

                     identifying and verifying their PPP borrowers’ identities

                     (including e.g., date of birth, address, and taxpayer

                     identification number), and, if that PPP borrower is a

                     company, following any applicable beneficial ownership

                     information collection requirements. Alternatively, if

                     available, entities may rely on the CIP of a federally insured

                     depository institution or federally insured credit union with

                     an established CIP as part of its AML program. In either




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                         instance, entities should also understand the nature and

                         purpose of their PPP customer relationships to develop

                         customer risk profiles. Such entities will also generally have

                         to identify and report certain suspicious activity to the U.S.

                         Department of the Treasury’s Financial Crimes Enforcement

                         Network (FinCEN). If such entities have questions with

                         regard to meeting these requirements, they should contact the

                         FinCEN Regulatory Support Section at FRC@fincen.gov.

                         In addition, FinCEN has created a COVID-19-specific

                         contact channel, via a specific drop-down category, for

                         entities to communicate to FinCEN COVID-19-related

                         concerns while adhering to their BSA obligations. Entities

                         that wish to communicate such COVID-19-related concerns

                         to FinCEN should go to www.FinCEN.gov, click on “Need

                         Assistance,” and select “COVID19” in the subject drop-down

                         list.

     Each lender’s underwriting obligation under the PPP is limited to the items above

     and reviewing the “Paycheck Protection Application Form.” Borrowers must

     submit such documentation as is necessary to establish eligibility such as payroll

     processor records, payroll tax filings, or Form 1099-MISC, or income and

     expenses from a sole proprietorship. For borrowers that do not have any such

     documentation, the borrower must provide other supporting documentation, such

     as bank records, sufficient to demonstrate the qualifying payroll amount.




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  c. Can lenders rely on borrower documentation for loan forgiveness?

     Yes. The lender does not need to conduct any verification if the borrower submits

     documentation supporting its request for loan forgiveness and attests that it has

     accurately verified the payments for eligible costs. The Administrator will hold

     harmless any lender that relies on such borrower documents and attestation from a

     borrower. The Administrator, in consultation with the Secretary, has determined

     that lender reliance on a borrower’s required documents and attestation is

     necessary and appropriate in light of section 1106(h) of the Act, which prohibits

     the Administrator from taking an enforcement action or imposing penalties if the

     lender has received a borrower attestation.

  d. What fees will lenders be paid?

     SBA will pay lenders fees for processing PPP loans in the following amounts:

       i.     Five (5) percent for loans of not more than $350,000;

       ii.    Three (3) percent for loans of more than $350,000 and less than

              $2,000,000; and

       iii.   One (1) percent for loans of at least $2,000,000.

  e. Do lenders have to apply the “credit elsewhere test”?

     No. When evaluating an applicant’s eligibility lenders will not be required to

     apply the “credit elsewhere test” (as set forth in section 7(a)(1)(A) of the Small

     Business Act (15 USC 636) and SBA regulations at 13 CFR 120.101)).

  4. What do Both Borrowers and Lenders Need to Know and Do?

  a. What are the loan terms and conditions?




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     Loans will be guaranteed under the PPP under the same terms, conditions and

     processes as other 7(a) loans, with certain changes including but not limited to:

       i.      The guarantee percentage is 100 percent.

       ii.     No collateral will be required.

       iii.    No personal guarantees will be required.

       iv.     The interest rate will be 100 basis points or one percent.

       v.      All loans will be processed by all lenders under delegated authority and

               lenders will be permitted to rely on certifications of the borrower in order

               to determine eligibility of the borrower and the use of loan proceeds.

  b. Are there any fee waivers?

       i. There will be no up-front guarantee fee payable to SBA by the Borrower;

       ii. There will be no lender’s annual service fee (“on-going guaranty fee”)

              payable to SBA;

       iii. There will be no subsidy recoupment fee; and

       iv. There will be no fee payable to SBA for any guarantee sold into the

              secondary market.

  c. Who pays the fee to an agent who assists a borrower?

     Agent fees will be paid by the lender out of the fees the lender receives from

     SBA. Agents may not collect fees from the borrower or be paid out of the PPP

     loan proceeds. The total amount that an agent may collect from the lender for

     assistance in preparing an application for a PPP loan (including referral to the

     lender) may not exceed:

            i. One (1) percent for loans of not more than $350,000;

            ii. 0.50 percent for loans of more than $350,000 and less than $2 million; and


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         iii. 0.25 percent for loans of at least $2 million.

     The Act authorizes the Administrator to establish limits on agent fees. The

     Administrator, in consultation with the Secretary, determined that the agent fee

     limits set forth above are reasonable based upon the application req uirements and

     the fees that lenders receive for making PPP loans.

  d. Can PPP loans be sold into the secondary market?

     Yes. A PPP loan may be sold on the secondary market after the loan is fully

     disbursed. A PPP loan may be sold on the secondary market at a premium or a

     discount to par value. SBA will issue guidance regarding any advance purchase

     for loans sold in the secondary market.

  e. Can SBA purchase some or all of the loan in advance?

     Yes. A lender may request that the SBA purchase the expected forgiveness

     amount of a PPP loan or pool of PPP loans at the end of week seven of the

     covered period. The expected forgiveness amount is the amount of loan principal

     the lender reasonably expects the borrower to expend on payroll costs, covered

     mortgage interest, covered rent, and covered utility payments during the eight

     week period after loan disbursement. At least 75 percent of the expected

     forgiveness amount shall be for payroll costs, as provided in 2.o. To submit a

     PPP loan or pool of PPP loans for advance purchase, a lender shall submit a report

     requesting advance purchase with the expected forgiveness amount to the SBA.

     The report shall include: the Paycheck Protection Program Application Form

     (SBA Form 2483) and any supporting documentation submitted with such

     application; the Paycheck Protection Program Lender’s Application for 7(a) Loan

     Guaranty (SBA Form 2484) and any supporting documentation; a detailed


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       narrative explaining the assumptions used in determining the expected

       forgiveness amount, the basis for those assumptions, alternative assumptions

       considered, and why alternative assumptions were not used; any information

       obtained from the borrower since the loan was disbursed that the lender used to

       determine the expected forgiveness amount, which should include the same

       documentation required to apply for loan forgiveness such as payroll tax filings,

       cancelled checks, and other payment documentation; and any additional

       information the Administrator may require to determine whether the expected

       forgiveness amount is reasonable. The Administrator, in consultation with the

       Secretary, determined that seven weeks is the minimum period of time necessary

       for a lender to reasonably determine the expected forgiveness amount for a PPP

       loan or pool of PPP loans, since the PPP is a new program and the likelihood that

       many borrowers will be new clients of the lender. The expected forgiveness

       amount may not exceed the total amount of principal on the PPP loan or pool of

       loans. The Administrator will purchase the expected forgiveness amount of the

       PPP loan(s) within 15 days of the date on which the Administrator receives a

       complete report that demonstrates that the expected forgiveness amount is indeed

       reasonable.

   5. Additional Information

   All loans guaranteed by the SBA pursuant to the CARES Act will be made consistent

with constitutional, statutory, and regulatory protections for religious liberty, including

the First Amendment to the Constitution, the Religious Freedom Restoration Act, 42

U.S.C. 2000bb-1 and bb-3, and SBA regulation at 13 C.F.R. 113.3-1h, which provides:




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“Nothing in [SBA nondiscrimination regulations] shall apply to a religious corporation,

association, educational institution or society with respect to the membership or the

employment of individuals of a particular religion to perform work connected with the

carrying on by such corporation, association, educational institution or society of its

religious activities.” SBA intends to promptly issue additional guidance with regard to

religious liberty protections under this program.

   SBA may provide further guidance, if needed, through SBA notices and a program

guide which will be posted on SBA’s website at www.sba.gov.

   Questions on the Paycheck Protection Program 7(a) Loans may be directed to the

Lender Relations Specialist in the local SBA Field Office. The local SBA Field Office

may be found at https://www.sba.gov/tools/local-assistance/districtoffices.

Compliance with Executive Orders 12866, 12988, 13132, and 13771, the Paperwork

Reduction Act (44 U.S.C. Ch. 35), and the Regulatory Flexibility Act (5 U.S.C. 601-

612).

EO 12866 and EO 13563

   This interim final rule is economically significant for the purposes of Executive

Orders 12866 and 13563. SBA, however, is proceeding under the emergency provision at

Executive Order 12866 Section 6(a)(3)(D) based on the need to move expeditiously to

mitigate the current economic conditions arising from the COVID–19 emergency. This

rule’s designation under Executive Order 13771 will be informed by public comment.

   This rule is necessary to implement Sections 1102 and 1106 of the CARES Act in

order to provide economic relief to small businesses nationwide adversely impacted

under the COVID-19 Emergency Declaration. We anticipate that this rule will result in




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substantial benefits to small businesses, their employees, and the communities they

serve. However, we lack data to estimate the effects of this rule.

Executive Order 12988

   SBA has drafted this rule, to the extent practicable, in accordance with the standards

set forth in section 3(a) and 3(b)(2) of Executive Order 12988, to minimize litigation,

eliminate ambiguity, and reduce burden. The rule has no preemptive or retroactive effect.

Executive Order 13132

   SBA has determined that this rule will not have substantial direct effects on the

States, on the relationship between the national government and the States, or on the

distribution of power and responsibilities among the various layers of government.

Therefore, SBA has determined that this rule has no federalism implications warranting

preparation of a federalism assessment.

Paperwork Reduction Act, 44 U.S.C.Chapter 35

   SBA has determined that this rule will impose recordkeeping or reporting

requirements under the Paperwork Reduction Act (“PRA”). SBA has obtained

emergency approval under OMB Control Number 3245-0407 for the information

collection (IC) required to implement the program described above. This IC consists of

Form 2483 (Paycheck Protection Program Application Form), SBA Form 2484

(Paycheck Protection Program Lender’s Application for 7(a) Loan Guaranty), and SBA

Form 3506 (CARES Act Section 1102 Lender Agreement), and is approved for use until

September 30, 2020.

Regulatory Flexibility Act (RFA)




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   The Regulatory Flexibility Act (RFA) generally requires that when an agency issues a

proposed rule, or a final rule pursuant to section 553(b) of the APA or another law, the

agency must prepare a regulatory flexibility analysis that meets the requirements of the

RFA and publish such analysis in the Federal Register. 5 U.S.C. 603, 604. Specifically,

the RFA normally requires agencies to describe the impact of a rulemaking on small

entities by providing a regulatory impact analysis. Such analysis must address the

consideration of regulatory options that would lessen the economic effect of the rule on

small entities. The RFA defines a ‘‘small entity’’ as (1) a proprietary firm meeting the

size standards of the Small Business Administration (SBA); (2) a nonprofit organization

that is not dominant in its field; or (3) a small government jurisdiction with a population

of less than 50,000. 5 U.S.C. 601(3)–(6). Except for such small government jurisdictions,

neither State nor local governments are ‘‘small entities.’’ Similarly, for purposes of the

RFA, individual persons are not small entities.

   The requirement to conduct a regulatory impact analysis does not apply if the head of

the agency “certifies that the rule will not, if promulgated, have a significant economic

impact on a substantial number of small entities.” 5 U.S.C. 605(b). The agency must,

however, publish the certification in the Federal Register at the time of publication of the

rule, “along with a statement providing the factual basis for such certification.” If the

agency head has not waived the requirements for a regulatory flexibility analysis in

accordance with the RFA’s waiver provision, and no other RFA exception applies, the

agency must prepare the regulatory flexibility analysis and publish it in the Federal

Register at the time of promulgation or, if the rule is promulgated in response to an




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emergency that makes timely compliance impracticable, within 180 days of publication

of the final rule. 5 U.S.C. 604(a), 608(b).

   Rules that are exempt from notice and comment are also exempt from the RFA

requirements, including conducting a regulatory flexibility analysis, when among other

things the agency for good cause finds that notice and public procedure are impracticable,

unnecessary, or contrary to the public interest. Small Business Administration’s Office

of Advocacy guide: How to Comply with the Regulatory Flexibility Ac. Ch.1. p.9.

Accordingly, SBA is not required to conduct a regulatory flexibility analysis.

Authority: 15 U.S.C. 636(a)(36); Coronavirus Aid, Relief, and Economic Security Act,

Pub. L. No. 116-136, Section 1114

Dated:

Jovita Carranza,
Administrator




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      EXHIBIT

                            B
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SMALL BUSINESS ADMINISTRATION

Docket No. SBA-2020-[          ]

13 CFR Part 121

Business Loan Program Temporary Changes; Paycheck Protection Program

RIN [        ]

AGENCY:          U. S. Small Business Administration.

ACTION:          Interim Final Rule.

SUMMARY: On April 2, 2020, the U.S. Small Business Administration (SBA) issued an

interim final rule (the Initial Rule) announcing the implementation of sections 1102 and 1106 of

the Coronavirus Aid, Relief, and Economic Security Act (CARES Act or the Act). Section 1102

of the Act temporarily adds a new program, titled the “Paycheck Protection Program,” to the

SBA’s 7(a) Loan Program. Section 1106 of the Act provides for forgiveness of up to the full

principal amount of qualifying loans guaranteed under the Paycheck Protection Program. The

Paycheck Protection Program and loan forgiveness are intended to provide economic relief to

small businesses nationwide adversely impacted by the Coronavirus Disease 2019 (COVID-19).

This interim final rule supplements the Initial Rule with additional guidance regarding the

application of certain affiliate rules applicable to SBA’s implementation of sections 1102 and

1106 of the Act and requests public comment.

DATES: Effective Date: This interim final rule is effective [INSERT DATE OF

PUBLICATION IN THE FEDERAL REGISTER].

Applicability Date: This interim final rule applies to applications submitted under the Paycheck

Protection Program through June 30, 2020, or until funds made available for this purpose are

exhausted.
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Comment Date: Comments must be received on or before [INSERT DATE 30 DAYS AFTER

DATE OF PUBLICATION IN THE FEDERAL REGISTER].

You may submit comments, identified by number SBA-2020-[          ] through the Federal

eRulemaking Portal: http://www.regulations.gov. Follow the instructions for submitting

comments.

        SBA will post all comments on www.regulations.gov. If you wish to submit confidential

business information (CBI) as defined in the User Notice at www.regulations.gov, please send an

email to ppp-ifr@sba.gov. Highlight the information that you consider to be CBI and explain

why you believe SBA should hold this information as confidential. SBA will review the

information and make the final determination whether it will publish the information.

FOR FURTHER INFORMATION CONTACT: The local SBA Field Office; the list of offices

can be found at https://www.sba.gov/tools/local-assistance/districtoffices.

SUPPLEMENTARY INFORMATION:

   I.       Background Information

   On March 13, 2020, President Trump declared the ongoing Coronavirus Disease 2019

(COVID-19) pandemic of sufficient severity and magnitude to warrant an emergency declaration

for all States, territories, and the District of Columbia. With the COVID-19 emergency, many

small businesses nationwide are experiencing economic hardship as a direct result of the Federal,

State, tribal, and local public health measures that are being taken to minimize the public’s

exposure to the virus. These measures, some of which are government-mandated, are being

implemented nationwide and include the closures of restaurants, bars, and gyms. In addition,

based on the advice of public health officials, other measures, such as keeping a safe distance




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from others or even stay-at-home orders, are being implemented, resulting in a dramatic decrease

in economic activity as the public avoids malls, retail stores, and other businesses.

   On March 27, 2020, the President signed the Coronavirus Aid, Relief, and Economic

Security Act (the CARES Act or the Act) (P.L. 116-136) to provide emergency assistance and

health care response for individuals, families, and businesses affected by the coronavirus

pandemic. The Small Business Administration (SBA) received funding and authority through

the Act to modify existing loan programs and establish a new loan program to assist small

businesses nationwide adversely impacted by the COVID-19 emergency.

   Section 1102 of the Act temporarily permits SBA to guarantee 100 percent of 7(a) loans

under a new program titled the “Paycheck Protection Program.” Section 1106 of the Act

provides for forgiveness of up to the full principal amount of qualifying loans guaranteed under

the Paycheck Protection Program. On April 2, 2020, SBA issued an interim final rule (the Initial

Rule) announcing the implementation of sections 1102 and 1106 of the Act. A more detailed

discussion of sections 1102 and 1106 of the Act is found in section III of the Initial Rule.

   This interim final rule supplements the Initial Rule with additional guidance regarding the

application of certain affiliate rules applicable to SBA’s implementation of sections 1102 and

1106 of the Act and requests public comment.

   II.     Comments and Immediate Effective Date

   The intent of the Act is that SBA provide relief to America’s small businesses expeditiously.

This intent, along with the dramatic decrease in economic activity nationwide, provides good

cause for SBA to dispense with the 30-day delayed effective date provided in the Administrative

Procedure Act (5 U.S.C. 553(b)(3)(B)). Specifically, small businesses need to be informed on

how to apply for a loan and the terms of the loan under section 1102 of the Act as soon as



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possible because the last day to apply for and receive a loan is June 30, 2020. The immediate

effective date of this interim final rule will benefit small businesses so that they can immediately

apply for the loan with a better understanding of loan terms and conditions. This interim final

rule is effective without advance notice and public comment because section 1114 of the Act

authorizes SBA to issue regulations to implement Title 1 of the Act without regard to notice

requirements. This rule is being issued to allow for immediate implementation of this program.

Although this interim final rule is effective immediately, comments are solicited from interested

members of the public on all aspects of the interim final rule. These comments must be

submitted on or before [INSERT DATE 30 DAYS FROM DATE OF PUBLICATION IN THE

FEDERAL REGISTER]. The SBA will consider these comments and the need for making any

revisions as a result of these comments.

   III.     Affiliate Rules for Paycheck Protection Program

   Overview

   The CARES Act was enacted to provide immediate assistance to individuals, families, and

organizations affected by the COVID-19 emergency. Among the provisions contained in the

CARES Act are provisions authorizing SBA to temporarily guarantee loans under the Paycheck

Protection Program (PPP). Loans under the PPP will be 100 percent guaranteed by SBA, and the

full principal amount of the loans may qualify for loan forgiveness. Additional information

about the PPP is available in the Initial Rule.

   1. Affiliation Rules Generally

Are affiliates considered together for purposes of determining eligibility?




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    In most cases, a borrower will be considered together with its affiliates for purposes of

determining eligibility for the PPP.1 Under SBA rules, entities may be considered affiliates

based on factors including stock ownership, overlapping management,2 and identity of interest.

13 CFR § 121.301.

How do SBA’s affiliation rules affect my eligibility and apply to me under the PPP?

    An entity generally is eligible for the PPP if it, combined with its affiliates, is a small

business as defined in section 3 of the Small Business Act (15 U.S.C. 632), or (1) has 500 or

fewer employees whose principal place of residence is in the United States or is a business that

operates in a certain industry and meets applicable SBA employee-based size standards for that

industry, and (2) is a tax-exempt nonprofit organization described in section 501(c)(3) of the

Internal Revenue Code (IRC), a tax-exempt veterans organization described in section

501(c)(19) of the IRC, a Tribal business concern described in section 31(b)(2)(C) of the Small

Business Act, or any other business concern. Prior to the Act, the nonprofit organizations listed

above were not eligible for SBA Business Loan Programs under section 7(a) of the Small

Business Act; only for-profit small business concerns were eligible. The Act made such

nonprofit organizations not only eligible for the PPP, but also subjected them to SBA’s

affiliation rules. Specifically, section 1102 of the Act provides that the provisions applicable to



1
  Section 7(a)(36)(D)(iv) of the Small Business Act (15 U.S.C. § 636(a)(36)(D)(iv), as added by the Act, waives the
affiliation rules contained in section 121.103 for (1) any business concern with not more than 500 employees that, as
of the date on which the loan is disbursed, is assigned a North American Industry Classification System code
beginning with 72; (2) any business concern operating as a franchise that is assigned a franchise identifier code by
the Administration; and (3) any business concern that receives financial assistance from a company licensed under
section 301 of the Small Business Investment Act of 1958 (15 U.S.C. 681). This interim final rule has no effect on
these statutory waivers, which remain in full force and effect. As a result, the affiliation rules contained in section
121.301 also do not apply to these types of entities.
2
  In order to help potential borrowers identify other businesses with which they may be deemed to be affiliated under
the common management standard, the Borrower Application Form, SBA Form 2483, released on April 2, 2020,
requires applicants to list other businesses with which they have common management. The information supplied
by the applicant in response to that information request should be used by applicants as they assess whether they
have affiliates that should be included in their number of employees reported on SBA Form 2483.


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affiliations under 13 CFR 121.103 apply with respect to nonprofit organizations and veterans

organizations in the same manner as with respect to small business concerns. However, the

detailed affiliation standards contained in section 121.103 currently do not apply to PPP

borrowers, because section 121.103(a)(8) provides that applicants in SBA’s Business Loan

Programs (which include the PPP) are subject to the affiliation rule contained in 13 CFR

121.301.

     2.          Faith-Based Organizations

          This rule exempts otherwise qualified faith-based organizations from the SBA’s

affiliation rules, including those set forth in 13 CFR part 121, where the application of the

affiliation rules would substantially burden those organizations’ religious exercise. This

exemption is required, or at a minimum authorized, by the Religious Freedom Restoration Act

(RFRA) (P.L. 103-141), which provides that the “[g]overnment shall not substantially burden a

person’s exercise of religion” unless the government can “demonstrate[] that application of the

burden” to the person is both “in furtherance of a compelling governmental interest” and “the

least restrictive means of furthering that compelling governmental interest.” 42 U.S.C. 2000bb-

1.

          A substantial burden under RFRA includes both government action that compels a person

to violate his sincere religious beliefs or suffer a penalty, see, e.g., Burwell v. Hobby Lobby

Stores, Inc., 573 U.S. 682, 726 (2014), and the imposition of a substantial burden through

“indirect” measures. Thomas v. Review Bd. of Ind. Emp. Sec. Div., 450 U.S. 707, 717-18 (1981).

Notably, the government imposes a substantial burden on religious exercise when it “conditions

receipt of an important benefit upon conduct proscribed by a religious faith, or where it denies

such a benefit because of conduct mandated by religious belief.” Id. at 718. For example, in




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Sherbert v. Verner, 374 U.S. 398 (1963), a State denied the plaintiff unemployment benefits

because she would not work on Saturday, the Sabbath of her faith. Id. at 400-01. Even though

no “sanctions directly compel[led]” her to work on Saturday, the Supreme Court held that the

State’s denial of benefits “puts the same kind of burden upon the free exercise of religion as

would a fine imposed against [her] for her Saturday worship.” Id. at 404. As the Court

observed, the State’s framework “forces her to choose between following the precepts of her

religion and forfeiting benefits, on the one hand, and abandoning one of the precepts of her

religion in order to accept work, on the other hand.” Id. Consistent with these precedents,

RFRA explicitly contemplates that “the denial of government funding, benefits, or exemptions”

may violate its protections. 42 U.S.C. 2000bb-4.

       SBA is aware of the existence of faith-based organizations that would qualify for relief

under the CARES Act but for their affiliation with other entities as an aspect of their religious

practice. Supreme Court precedent has long recognized that the organizational structure of faith-

based entities may itself be a matter of significant religious concern and that faith-based

organizations are therefore guaranteed the “power to decide for themselves, free from state

interference, matters of church government as well as those of faith and doctrine.” Kedroff v. St.

Nicholas Cathedral of Russian Orthodox Church in N. Am., 344 U.S. 94, 116 (1952). Moreover,

an assessment of the extent to which questions concerning religious polity rest upon theological

or other religious foundations presents particular difficulties, for the First Amendment “forbids

civil courts” from “the interpretation of particular church doctrines and the importance of those

doctrines to the religion.” Presbyterian Church v. Mary Elizabeth Blue Hull Mem’l Presbyterian

Church, 393 U.S. 440, 450 (1969). A number of faith-based organizations understand their

affiliation with other religious entities as a part of their exercise of religion, as a mandate given




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the “hierarchical or connectional” structure of their church, Jones v. Wolf, 443 U.S. 595, 597

(1979), or as an expression of their sincere religious belief. Cf. 1 W. Cole Durham & Robert

Smith, Religious Organizations and the Law § 8.19 (Westlaw rev. ed. 2017) (“Religious

organizations, such as parishes or mission centers, normally tend to choose the civil-property-

holding structures that most closely mirror their own ecclesiology or polity.”). Either affiliation

decision falls within the definition of “religious exercise” that applies to RFRA, which “includes

any exercise of religion, whether or not compelled by, or central to, a system of religious belief.”

See 42 U.S.C. 2000cc-5(7)(A); 2000bb-2(4) (“the term ‘exercise of religion’ means religious

exercise, as defined in section 2000cc-5 of this title”).

        As applied to these faith-based organizations, the affiliation rules would impose a

substantial burden. The affiliation rules would deny an important benefit (participation in a

program for which they would otherwise be eligible under the CARES Act) because of the

exercise of sincere religious belief (affiliation with other religious entities).

        The Administrator has also concluded that she does not have a compelling interest in

denying emergency assistance to faith-based organizations that are facing the same economic

hardship to which the CARES Act responded and who would be eligible for PPP but for their

faith-based organizational and associational decisions. This conclusion is reinforced by the fact

that the affiliation rules already contain numerous exemptions, see generally 13 C.F.R.

121.103(b), ranging from “[b]usiness concerns owned and controlled by Indian Tribes, Alaska

Native Corporations, [and] Native Hawaiian Organizations,” id. 121.103(b)(2)(i) to “member

shareholders of a small agricultural cooperative.” Id. 121.103(b)(7). In light of these

exemptions, it is difficult to maintain that denying relief to these faith-based organizations is

necessary to further a compelling government interest, let alone the least restrictive means of




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doing so. See Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 547

(1993) (“[A] law cannot be regarded as protecting an interest of the highest order when it leaves

appreciable damage to that supposedly vital interest unprohibited.”) (cleaned up); Gonzales v. O

Centro Espirita Beneficiente Uniao do Vegetal, 546 U.S. 418, 433 (2006) (applying same

principle under RFRA). SBA accordingly must exempt faith-based organizations that would

otherwise be disqualified from the PPP based on features of those organizations’ affiliations that

are a matter of sincere religious exercise as defined in 42 U.S.C. 2000bb-2.

       This action is also supported by 15 U.S.C. 634(b)(6), which authorizes the Administrator

to “make such rules and regulations as he deems necessary to carry out the authority vested in

him by or pursuant to this chapter.” As relevant here, the CARES Act expanded eligibility for

the covered loans during the covered period for nonprofit organizations that employ not more

than 500 employees or, if applicable, the size standard in number of employees established by

the Administrator for the industry in which the nonprofit organization operates. 15 U.S.C.

636(a)(36)(D)(i). That expansion posed unique concerns for the Administrator, who is tasked

with applying the “provisions applicable to affiliations under section 121.103 of title 13, Code of

Federal Regulations, or any successor thereto, . . . with respect to a nonprofit organization and a

veterans organizations in the same manner as with respect to a small business concern.”

Id. 636(a)(36)(D)(vi). Although these rules may easily be applied to faith-based organizations in

many cases, their application to certain faith-based organizations presents significant challenges,

in particular because of the large number of faith-based organizations who would now be eligible

for the PPP but for their religious exercise.

       As discussed above, carrying the affiliation rules over to all faith-based organizations

without modification would raise concerns under RFRA. Moreover, application of the affiliation




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rules, which, for example, provide for assessment of whether one faith-based organization

“controls or has the power to control” another organization, 13 C.F.R. 121.103(a)(1), could

involve SBA in questions of church governance concerning “the allocation of power within a

(hierarchical) church so as to decide . . . religious law (governing church polity),” in violation of

the First Amendment. Serbian E. Orthodox Diocese for the U.S.A. & Canada v. Milivojevich,

426 U.S. 696, 709 (1979) (internal quotation marks omitted)). Finally, affiliation rules

developed in the context of for-profit enterprises present significant administrative difficulties

where faith-based organizations are concerned. For example, “the notion of corporate

subsidiarity or affiliation in civil law is entirely foreign to the polity of religious organizations,”

and there is a significant risk that civil authorities will “mischaracterize or misinterpret the polity

of a religious body.” 1 W. Cole Durham & Robert Smith, Religious Organizations and the Law

§§ 8.19, 8.21 (discussing examples of judicial mischaracterizations). Consistent with these

concerns, it is also notable that other areas of federal law approach issues analogous to affiliation

differently for religious organizations. See, e.g., 26 U.S.C. 512 (b)(12).

        For these reasons, in addition to the RFRA mandate, the Administrator has determined

that it is appropriate to exercise the authority granted under 15 U.S.C. 634(b)(6) to exempt from

application of SBA’s affiliation rules faith-based organizations that would otherwise be

disqualified from participation in PPP because of affiliations that are a part of their religious

exercise.

        Accordingly, the SBA’s affiliation rules, including those set forth in 13 CFR part 121, do

not apply to the relationship of any church, convention or association of churches, or other faith-

based organization or entity to any other person, group, organization, or entity that is based on a

sincere religious teaching or belief or otherwise constitutes a part of the exercise of religion.




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This includes any relationship to a parent or subsidiary and other applicable aspects of

organizational structure or form. A faith-based organization seeking loans under this program

may rely on a reasonable, good faith interpretation in determining whether its relationship to any

other person, group, organization, or entity is exempt from the affiliation rules under this

provision, and SBA will not assess, and will not require participating lenders to assess, the

reasonableness of the faith-based organization’s determination.

   3. Additional Information

   SBA may provide further guidance, if needed, through SBA notices and a program guide

which will be posted on SBA’s website at www.sba.gov.

   Questions on the Paycheck Protection Program 7(a) Loans may be directed to the Lender

Relations Specialist in the local SBA Field Office. The local SBA Field Office may be found at

https://www.sba.gov/tools/local-assistance/districtoffices.

Compliance with Executive Orders 12866, 12988, 13132, and 13771, the Paperwork

Reduction Act (44 U.S.C. Ch. 35), and the Regulatory Flexibility Act (5 U.S.C. 601-612).

Executive Orders 12866, 13563, and 13771

   This interim final rule is economically significant for the purposes of Executive Orders

12866 and 13563, and is considered a major rule under the Congressional Review Act. SBA,

however, is proceeding under the emergency provision at Executive Order 12866 Section

6(a)(3)(D) based on the need to move expeditiously to mitigate the current economic conditions

arising from the COVID–19 emergency. This rule’s designation under Executive Order 13771

will be informed by public comment.

Executive Order 12988

   SBA has drafted this rule, to the extent practicable, in accordance with the standards set forth




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in section 3(a) and 3(b)(2) of Executive Order 12988, to minimize litigation, eliminate

ambiguity, and reduce burden. The rule has no preemptive or retroactive effect.

Executive Order 13132

   SBA has determined that this rule will not have substantial direct effects on the States, on the

relationship between the national government and the States, or on the distribution of power and

responsibilities among the various layers of government. Therefore, SBA has determined that

this rule has no federalism implications warranting preparation of a federalism assessment.

Paperwork Reduction Act, 44 U.S.C. Chapter 35

   SBA has determined that this rule will impose recordkeeping or reporting requirements under

the Paperwork Reduction Act (“PRA”). SBA has obtained emergency approval under OMB

Control Number 3245-0407 for the information collection (IC) required to implement the

program described above. This IC consists of Form 2483 (Paycheck Protection Program

Application Form) and SBA Form 2484 (Paycheck Protection Program Lender’s Application for

7(a) Loan Guaranty), and is approved for use until September 30, 2020.

Regulatory Flexibility Act (RFA)

   The Regulatory Flexibility Act (RFA) generally requires that when an agency issues a

proposed rule, or a final rule pursuant to section 553(b) of the APA or another law, the agency

must prepare a regulatory flexibility analysis that meets the requirements of the RFA and publish

such analysis in the Federal Register. 5 U.S.C. 603, 604. Specifically, the RFA normally requires

agencies to describe the impact of a rulemaking on small entities by providing a regulatory

impact analysis. Such analysis must address the consideration of regulatory options that would

lessen the economic effect of the rule on small entities. The RFA defines a “small entity” as (1) a

proprietary firm meeting the size standards of the Small Business Administration (SBA); (2) a




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nonprofit organization that is not dominant in its field; or (3) a small government jurisdiction

with a population of less than 50,000. 5 U.S.C. 601(3)–(6). Except for such small government

jurisdictions, neither State nor local governments are “small entities.” Similarly, for purposes of

the RFA, individual persons are not small entities.

   The requirement to conduct a regulatory impact analysis does not apply if the head of the

agency “certifies that the rule will not, if promulgated, have a significant economic impact on a

substantial number of small entities.” 5 U.S.C. 605(b). The agency must, however, publish the

certification in the Federal Register at the time of publication of the rule, “along with a statement

providing the factual basis for such certification.” If the agency head has not waived the

requirements for a regulatory flexibility analysis in accordance with the RFA’s waiver provision,

and no other RFA exception applies, the agency must prepare the regulatory flexibility analysis

and publish it in the Federal Register at the time of promulgation or, if the rule is promulgated in

response to an emergency that makes timely compliance impracticable, within 180 days of

publication of the final rule. 5 U.S.C. 604(a), 608(b).

   Rules that are exempt from notice and comment are also exempt from the RFA requirements,

including conducting a regulatory flexibility analysis, when among other things the agency for

good cause finds that notice and public procedure are impracticable, unnecessary, or contrary to

the public interest. SBA Office of Advocacy guide: How to Comply with the Regulatory

Flexibility Ac. Ch.1. p.9. Accordingly, SBA is not required to conduct a regulatory flexibility

analysis.

List of subjects in 13 CFR part 121

       Administrative practice and procedure, Authority delegations (Government agencies),

Intergovernmental relations, Investigations, Reporting and recordkeeping requirements.



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        For the reasons stated in the preamble, the Small Business Administration revises 13 CFR

Part 121 as set forth below:

    1. The authority citation for part 121 is revised to read as follows:
    Authority: 15 U.S.C. 632, 634(b)(6), 636(a)(36); 662, and 694a(9), Pub. L. No. 116-136,

Section 1114.

    2. Revise § 121.103(b) by adding (b)(10) to read as follows:
§ 121.103 How does SBA determine affiliation?”

*****

        (b) ***

        (10)(i) The relationship of a faith-based organization to another organization is not

considered an affiliation with the other organization under this subpart if the relationship is based

on a religious teaching or belief or otherwise constitutes a part of the exercise of religion. In

addition, the eligibility criteria set forth in 15 U.S.C. 636(a)(36)(D) are satisfied for any faith-

based organization having not more than 500 employees (including individuals employed on a

full-time, part-time, or other basis) that pays federal payroll taxes using its own Internal Revenue

Service Employer Identification Number (EIN) or that would be eligible for a deduction under

the second sentence of 26 U.S.C. 512(b)(12) if the organization earned unrelated business

taxable income. For purposes of this paragraph, the term “faith-based organization” includes,

but is not limited to, any organization associated with a church or convention or association of

churches within the meaning of 26 U.S.C. 414(e)(3)(D). The term “organization” has the

meaning given in 26 U.S.C. 414(m)(6)(A). The terms “church” and “convention or association

of churches” have the same meaning that they have in 26 U.S.C. 414.

        (ii) No specific process or filing is necessary to claim the benefit of this exemption. In

applying for a loan under the PPP, a faith-based organization may make all necessary


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certifications with respect to common ownership or management or other eligibility criteria

based upon affiliation, if the organization would be an eligible borrower but for application of

SBA affiliation rules and if the organization falls within the terms of the exemption described

above. If a faith-based organization indicates any relationship that may pertain to affiliation, such

as ownership of, ownership by, or common management with any other organization, on or in

connection with a loan application, and if the faith-based organization applying for a loan falls

within the terms of the exemption described above with respect to that relationship, the faith-

based organization may indicate on a separate sheet that it is entitled to the exemption. That

sheet may be identified as addendum A, and no further listing of the other organization or

description of the relationship to that organization is required. A sample “Addendum A” is

attached to the rule, but this format need not be used as long as the substance is the same.

*****

   3. Add Addendum A to part 121 to read as follows:




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[Sample]
                                        ADDENDUM A


    The Applicant claims an exemption from all SBA affiliation rules applicable to Paycheck
     Protection Program loan eligibility because the Applicant has made a reasonable, good
     faith determination that the Applicant qualifies for a religious exemption under 13 C.F.R.
     121.103(b)(10), which says that “[t]he relationship of a faith-based organization to
     another organization is not considered an affiliation with the other organization . . . if the
     relationship is based on a religious teaching or belief or otherwise constitutes a part of the
     exercise of religion.”


Dated:


Jovita Carranza,
Administrator




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      EXHIBIT

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      EXHIBIT

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      EXHIBIT

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      EXHIBIT

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